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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA JS-6

CIVIL MINUTES — GENERAL

Case No. SACV 21-01617-JLS (DFMx) Date November 22, 2021

 

 

Title C.Z., et al v. Irvine Valley College Foundation

 

Present: The Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

 

 

 

Melissa Kunig None Reported
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION ON STIPULATION
TO DISMISS WITH PREJUDICE

The Court, having been advised that this action has been resolved by a Stipulation to
Dismiss [22], hereby orders this action dismissed with prejudice. The Court hereby orders all
proceedings in the case vacated and taken off calendar.

 

Initials of Deputy Clerk mku

 

 

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